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                               EXHIBIT 13
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   January 26, 2021

   VIA E-MAIL

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   Re:     No. 20-cv-484, Amazon.com, Inc. v. WDC Holdings LLC et al., EDVA

   Dear Stan and George:

           We write regarding the supplemental answers to Plaintiffs’ First Set of Interrogatories that
   your clients, Brian Watson and WDC Holdings LLC d/b/a Northstar Commercial Partners, served
   on January 8, 2021 in the above-captioned action, as well as regarding the Delaware Chancery
   Court suit (No. 2020-1026) they filed in December 2020 for relief on the same joint venture
   activities at issue in this action and addressed in the Court’s June 5, 2020 Preliminary Injunction.

            January 8, 2021 Supplemental Response. The January 8 supplement admits that from
   “April 2, 2020 through the present,” your clients have disposed of assets worth $82.5 million. The
   supplement makes this admission in response to an interrogatory that, pursuant to the Court’s July
   and November discovery orders: (a) requires your clients to disclose the value of “each transfer
   or disposition of any assets or financial interests of any kind” over $10,000 during this time period;
   and (b) provide the “details of and reasons for the transfer(s) or disposition(s), as well as the current
   or last known location of the asset(s) or interest(s).”

           The January 8 supplement confirms that your clients disposed of assets that generated at
   least $82.5 million in cash proceeds, but does not provide required information about the
   dispositions. These deficiencies are highly prejudicial in light of your clients’ ongoing failure to
   post one penny of the escrow or bond security mandated by the Court’s April 28, 2020 Temporary
   Restraining Order and June 5 Preliminary Injunction.
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           Upon receiving the January 8 supplement, we reviewed the settlement statements you
   referenced therein, as well as apparently relevant portions of the untimely document productions
   you made between Thanksgiving and New Year’s Eve. This ongoing and costly examination
   revealed that the settlement statements and other information identified in the supplement fail to
   account for several million dollars of the admitted proceeds. And the remaining information in
   the supplement does not explain—much less excuse—your clients’ ongoing violation of the
   Court’s injunctive orders. Indeed, the supplement independently violates your clients’ obligations
   under the Court’s July and November discovery orders because it is untimely and incomplete in
   failing to disclose required information about the asset dispositions and resulting proceeds.

            As a threshold matter, the numbers in the supplement and accompanying Excel sheet do
   not add up. The spreadsheet fails to account for at least $18,865,506 of the proceeds from the
   disclosed asset liquidations. And it states that another $15.2 million has been used to pay “Other
   loans” or unidentified “Investors,” but fails to provide the transaction details the interrogatory and
   Court orders require. Accordingly, the supplement confirms that your clients generated $34.6
   million in net proceeds after payment of the mortgages on the assets sold since April 2020. Yet it
   fails to document any justification for your clients’ failure to use some or all of these proceeds to
   comply with the Court’s orders. Instead, it admits that your clients converted part of the
   unencumbered proceeds to personal and business uses after making millions of dollars of
   preferential transfers to unidentified investors and creditors.

           You previously represented to the District Court that your clients lack the liquidity to fund
   the escrow or otherwise post the judgment security the Court ordered in April and June 2020. But
   the recent asset dispositions generated more cash than required to satisfy these provisions, and
   your clients’ failure to justify their alternative use of the proceeds violates their obligations under
   the Court’s orders and federal discovery rules. Accordingly, reserving all rights, including
   Plaintiffs’ right to seek discovery and other relief on your clients’ transfers to third parties,
   Plaintiffs hereby demand that your clients:

         Immediately cease and desist liquidating or otherwise dissipating any assets within
          Watson or WDC/Northstar’s possession, custody, or control as defined in Federal
          Rule of Civil Procedure 26, including any of the proceeds from the executed
          dispositions addressed in the January 8 supplement and the proposed dispositions
          of the Churchill Drive and other assets addressed in our December 18, 2020 letter;

         Immediately update and serve no later than 9 am EST on January 27, 2021, an
          updated supplement that contains the required transaction details, including the
          identity of every transferee, including any law firm, that has received the proceeds
          from each of the sales, an accounting of all personal and business “expenses”
          referenced in the January 8 supplement, and the identities of all third parties that
          received any portion of the $82.5 million disclosed in the January 8 supplement or
          from other asset dispositions responsive to the interrogatory since January 8, 2021.

          Delaware Suit. On December 15, 2020, Watson and WDC/Northstar filed suit in
   Delaware against several entities and individuals presently serving as landlords and/or developers
   of the Amazon lease sites at issue in the EDVA civil action and parallel criminal investigation.
   The Delaware suit arises out of the same transactions as the EDVA action and investigation, and


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   alleges conduct, including by an individual defendant, that involves sworn testimony and Amazon
   Confidential Information directly addressed in the EDVA proceedings giving rise to the June 5
   Preliminary Injunction and EDVA Protective Order. But the Delaware complaint references the
   EDVA action only in a footnote, and makes no mention of the Preliminary Injunction, ensuing
   discovery orders, or Protective Order. Your clients’ initiation of collateral litigation involving
   confidential information and transactions covered by the EDVA Preliminary Injunction, Protective
   Order, and July and November discovery orders raises serious procedural and substantive
   concerns. Reserving all rights and remedies in this action and the related Delaware proceedings
   as relevant to Plaintiffs’ interests, your clients’ Delaware filings raise at least the following issues:

           Use of Amazon Confidential Information. In an email following the FBI raid cited in
   Paragraph 13 of the Delaware complaint, Brian Watson references a “strict confidentiality
   agreement with Amazon” concerning the development properties at issue in the criminal
   investigation. Consistent with this and other acknowledgments by your clients, the Preliminary
   Injunction and Protective Order impose strict limits on your clients’ use of confidential information
   about the transactions they have now raised in Delaware. Notably, Paragraph 5 of the Preliminary
   Injunction expressly requires your clients to “immediately return any and all Amazon confidential
   or otherwise non-public proprietary information in their possession except as necessary for use in
   this case in accordance with the confidential treatment and other obligations prescribed herein.”
   Further, in response to the Court’s July and November discovery orders, your clients provided an
   inventory of such information. In addition, your clients and other parties to the EDVA civil action
   have designated “confidential” under the EDVA Protective Order various information referenced
   in the Delaware complaint. In accordance with these and other authorities and precedents, please:

              Immediately cease and desist from using any Amazon confidential information
               in the Delaware action or otherwise in violation of Paragraph 5 of the
               Preliminary Injunction;

              Certify in writing by 9 am EST on January 27, 2021, that: (i) you have not
               disseminated or otherwise disclosed confidential information covered by
               Paragraph 5 of the Preliminary Injunction or the EDVA Protective Order for
               any purpose not permitted by those orders; and (ii) if you have made any such
               disclosures, that you have notified the recipients, including the Court or parties
               in Delaware, of the terms of the EDVA Preliminary Injunction and Protective
               Order and requested immediate return or destruction of all information
               disclosed in violation of these orders.

            Claims for Fees or Other Remuneration on Amazon Development Projects. Your clients’
   Delaware complaint seeks, among other things, “over $13 million in fees” on the Amazon lease
   transactions at issue in the EDVA civil action, as well as “approximately $53 million in the GP
   Promote that would be owed to” EDVA civil defendant NSIPI Administrative Manager, LLC in
   the EDVA action. (Del. Compl. ¶¶ 72, 81-82.) These claims relate directly to your clients’
   representations to the EDVA District Court and Fourth Circuit that the June 5 Preliminary
   Injunction does not accurately reflect the amount of fees and other proceeds your clients received
   in relation to their transactions with Amazon. The Court’s July and November discovery orders
   required your clients to substantiate these claims.



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            Notably, Plaintiffs’ Interrogatory 3 requires your clients to “describe in detail the amount(s)
   and all factual and legal bases for all fees or other financial benefits of any kind that you have
   received or contend you are entitled to receive in connection with the Leased Transactions, the
   White Peaks Purchase, or any other transaction with Plaintiffs or their agents.” The interrogatory
   specifies that this request encompasses and seeks “the individual amounts and aggregate total of
   all fees, remuneration, payments, or financial interests of any type that You have received to date,
   directly or indirectly, from Plaintiffs or any other person” on the specified Amazon transactions,
   as well as your grounds for demanding additional fees totaling $3,681,931 and $9.4 million on the
   Leased Transactions, and “GP Promote” or other interests you value “at no less than $53 million.”

          Your November 2020 response to Interrogatory 3 is deficient for the reasons detailed in
   our December 18, 2020 letter, because it does not provide the requested information and refers
   only generally (with no bates numbers) to materials from the untimely document productions you
   made after Thanksgiving. Your January 8 discovery supplement did not amend Interrogatory 3.
   Accordingly, and reserving all rights, we reviewed your untimely productions for information
   responsive to Interrogatory 3.

           Those productions include a document (WDC0069428) referencing at least $18,636,919
   in Northstar “Acquisition, Leasing, Development, and Asset Management” fees for the Dulles,
   Quail Ridge, and Manassas developments for Amazon. And our ongoing review of your
   productions and other data has uncovered evidence of at least $14,747,378 in Northstar fee receipts
   on a subset of these deals. We trust that your Delaware complaint does not improperly seek fees
   that your clients have already received, and thus that the “over $13 million in fees” it claims are
   for fees in excess of the receipts documented in the EDVA action. Reserving all rights, please:

          Immediately confirm in writing that your clients’ Delaware claims seek only
          unpaid fees or other unpaid amounts related to the Amazon transactions; and

          Produce by 9 am EST on January 27, 2021 a signed supplemental response to
          Interrogatory 3 that identifies the specific dates, amounts, and recipients of all fees
          and other payments remitted to your clients’ possession, custody, or control in
          relation to the Amazon transactions, along with the bates numbers of all documents
          that your clients rely upon to support their response.

           The requests in this letter are without prejudice to all of Plaintiffs’ rights and remedies on
   the claims and conduct at issue in the EDVA action and related investigations. The authorities
   governing these rights include all relevant orders issued in that action, as well as Federal Rules of
   Civil Procedure 26, 34, and 37, notably the provisions of Rule 26(g) that govern “attorney or party”
   certifications in civil cases.

   Sincerely,


   Elizabeth Papez

   cc: Patrick Stokes; Claudia Barrett



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